Case 1:19-cv-11045-GAO Document 15 Filed 09/09/19 Page 1 of 4




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS

 BATTERY CONSERVATION                              :
 INNOVATIONS, LLC,                                 :
                                                   :
        Plaintiff,                                 :      CASE NO. 1:19-cv-11045-GAO
                                                   :
 v.                                                :      PATENT
                                                   :
 HOCOMA, INCORPORATED,                             :
                                                   :
        Defendant.                                 :



       JOINT MOTION TO CONTINUE SCHEDULING CONFERENCE


       Plaintiff Battery Conservation Innovations, LLC (“BCI”) and Hocoma,

Incorporated (“Hocoma”) hereby moves for a continuance of the scheduling conference

from September 16, 2019 to September 23, 2019.

       As grounds for this motion, BCI and Hocoma assert that a settlement has been

reached in this case. The parties are presently finalizing the agreement and need a week

extension of this deadline to complete the agreement and file the motion to dismiss.
           Case 1:19-cv-11045-GAO Document 15 Filed 09/09/19 Page 2 of 4



Respectfully submitted,                     Respectfully submitted,

Hocoma, Inc.                                Battery Conservation Innovations, LLC,

By its Attorney,                            By its Attorney,


/s/ Briana R. Cummings                      /s/David A Chavous
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September 9, 2019
           .




                                                 2
Case 1:19-cv-11045-GAO Document 15 Filed 09/09/19 Page 3 of 4



                     LOCAL RULE 7.1 CERTIFICATION

       I, David A. Chavous, conferred with counsel for Defendant regarding this
motion on September 9, 2019 and counsel for Defendant agreed to this extension.

                                                  /s/ David A. Chavous
                                                  David A. Chavous




                                             3
Case 1:19-cv-11045-GAO Document 15 Filed 09/09/19 Page 4 of 4



                          CERTIFICATE OF SERVICE

       The undersigned hereby certifies that this document filed through the CM/ECF
system will be sent electronically to the registered participants as identified on the
Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as
non-registered participants on September 9, 2019.


                                                    /s/ /David A. Chavous/




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